
Daniel-Marie Chappuis,
Petitioner-Respondent,
againstCUCS—The Kelly,
Respondent-Appellant.



Respondent CUCS - The Kelly appeals from an order of the Civil Court of the City of New
York, New York County (Jack Stoller, J.), entered on or about March 17, 2014, after a hearing,
which granted petitioner's motion to be restored to possession.




Per Curiam.
Order (Jack Stoller, J.), entered on or about March 17, 2014, reversed, with $10 costs, and
the matter remanded to Civil Court for a new hearing consistent with this decision.
Petitioner commenced this unlawful entry and detainer proceeding (see RPAPL
713[10]) after he was excluded from a federally-funded transitional housing program (see
42 USC §§ 11381-11389) operated by respondent CUCS - The Kelly because of
his alleged pattern of disruptive behavior. After a hearing, Civil Court directed that petitioner be
restored to the premises. Although the court made no finding as to the nature of petitioner's
occupancy, the court directed that he be restored to possession because he was evicted by
self-help without the due process protections required by federal regulations.
While we agree with Civil Court's finding that respondent failed to comply with the Code of
Federal Regulations' due process requirements for "terminating assistance" to a participant in a
federally-funded transitional housing program (see CFR § 578.91) - where formerly
homeless individuals such as petitioner reside and receive support services - we nevertheless
reverse and remand for a new hearing. We cannot make the necessary findings on this record as
to whether petitioner was in actual or constructive possession at the time he was put out or kept
out of the premises, which RPAPL 713(10) requires to maintain a forcible entry and detainer
proceeding (see Andrews v Acacia
Network, 59 Misc 3d 10 [2018] [App Term, 2d, 11th and 13th Jud Dists 2018] [Because
such licensee was found not to "have 'possession,' he cannot maintain an unlawful entry and
detainer proceeding"]), particularly in the absence of the "occupancy agreement" purportedly
signed by petitioner that is mentioned, but not contained in the record (cf. Federation of Orgs., Inc. v Bauer, 6
Misc 3d 10 [2004] [App Term, 2d Dept 2004] [the terms of the "admission agreement" were
dispositive as to the issue of whether petitioner was a licensee or tenant]). We therefore remand
for a new hearing.
THIS CONSTITUTES THE DECISION AND ORDER OF THE COURT.
I concur I concur 
Decision Date: July 11, 2018










